      Case 2:17-cv-02044-HB Document 61 Filed 11/10/21 Page 1 of 1

               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: ZOSTAVAX (ZOSTER VACCINE      :    MDL NO. 2848
 LIVE) PRODUCTS LIABILITY             :
 LITIGATION                           :    CIVIL ACTION NO. 18-md-2848
________________________________      :
                                      :
 THIS DOCUMENT RELATES TO:            :
                                      :
 JOHN MICHAEL BUSH and JOHNNY         :
 MITCHELL v. MERCK & CO., INC.,       :
 et al.                               :
 Civil Action No. 19-1117             :
                                      :
 RICHARD DOMAN and MAUREEN M.         :
 DOMAN v. MERCK & CO., INC.,          :
 et al.                               :
 Civil Action No. 18-20118            :
                                      :
 DAVID R. ELMEGREEN as Trustee of     :
 THE SUE A. ELMEGREEN TRUST v.        :
 MERCK & CO., INC., et al.            :
 Civil Action No. 17-2044             :
                                      :
 JOHN NIEDZIALOWSKI and KATHERINE     :
 NIEDZIALOWSKI v. MERCK & CO.,        :
 INC., et al.                         :
 Civil Action No. 19-20025            :
                                      :
 EMILY SANSONE v. MERCK & CO.,        :
 INC., et al.                         :
 Civil Action No. 18-20114            :
________________________________      :    _____________________________

                          PRETRIAL ORDER NO._402

          AND NOW, this 10th day of November, 2021, for the

reasons stated in the foregoing Memorandum, it is hereby ORDERED

that the motion of defendants Merck & Co., Inc. and Merck Sharp

& Dohme for summary judgment based on preemption of plaintiffs’

design defect claims is DENIED.

                                            BY THE COURT:


                                            /s/ Harvey Bartle III
                                                                     J.
